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                             EXHIBIT 5
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                                                                                                   Confidential - Subject to Protective Order




License Look Up
5/29/2019 2:39 PM

 Brian David Heim
 Status                                                               Inactive
 Sub-Status                                                           Board Action
 Board                                                                Medical Board
 License Type                                                         Doctor of Medicine (MD)
 License Number                                                       35.071122
 License Issue Date                                                   09/16/1996
 License Expiration Date                                              10/01/2014
 License Effective Date                                               10/02/2012
 City                                                                 AKRON
 State                                                                OH
 Country
 Board Action                                                         Yes


Board Action Details 05/08/2013: BOARD ORDER - Medical license revoked. Based on doctor’s conviction in the Summit County Court of
Common Pleas on one misdemeanor count of Obstructing Official Business and on the doctor’s surrender of his Drug Enforcement Administration
Certificate of Registration. (Journal Entry – No hearing requested.) Order effective 5/9/13.
02/13/2013: CITATION - Based on doctor’s conviction in the Summit County Court of Common Pleas on one misdemeanor count of Obstructing
Official Business and on the doctor’s surrender of his Drug Enforcement Administration Certificate of Registration. Notice of opportunity for
hearing mailed 2/14/13.
01/12/2005: PROBATION TERMINATED - Doctor's request for release from terms of 9/9/98 consent agreement granted by vote of the Board on
1/12/05.
07/09/2003: PROBATION MODIFIED - DOCTOR'S REQUEST TO ELIMINATE CHART REVIEW REQUIREMENT GRANTED BY VOTE
OF THE BOARD ON 7/9/03.
01/09/2002: PROBATION MODIFIED - DOCTOR'S REQUEST TO REAPPLY FOR D.E.A. CERTIFICATE TO PRESCRIBE, ADMINISTER,
DISPENSE, ORDER, WRITE ORDERS FOR, GIVE VERBAL ORDERS FOR OR POSSESS ALL SCHEDULE DRUGS GRANTED BY
VOTE OF THE BOARD ON 1/9/02, SUBJECT TO HIS MAINTAINING A LOG OF ALL DRUGS PRESCRIBED, ORDERED AND

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DISPENSED.
07/11/2001: PROBATION MODIFIED - DOCTOR'S REQUEST TO REDUCE REQUIRED PERSONAL APPEARANCES TO EVERY SIX
MONTHS GRANTED BY VOTE OF THE BOARD ON 7/11/01.
04/11/2001: PROBATION MODIFIED - DOCTOR'S REQUEST FOR AUTHORIZATION TO REAPPLY FOR HIS D.E.A. CERTIFICATE TO
PRESCRIBE, ADMINISTER, DISPENSE, WRITE ORDERS FOR, GIVE VERBAL ORDERS FOR OR POSSESS SCHEDULE IV AND V
CONTROLLED SUBSTANCES GRANTED BY VOTE OF THE BOARD ON 4/11/01, SUBJECT TO DOCTOR'S MAINTENANCE OF A
LOG OF ALL DRUGS PRESCRIBED, ORDERED AND DISPENSED.
10/11/2000: PROBATION MODIFIED - DOCTOR'S REQUEST TO REDUCE REQUIRED DRUG SCREENS TO BIMONTHLY GRANTED
BY VOTE OF THE BOARD ON 10/11/00.
06/13/2000: PROBATION MODIFIED - DOCTOR'S REQUEST TO USE HOSPITAL D.E.A. NUMBER GRANTED BY VOTE OF THE
BOARD ON 6/13/00, PROVIDED THAT HE MAINTAIN A LOG OF ALL DRUGS ORDERED, PRESCRIBED OR ADMINISTERED.
09/08/1999: REINSTATEMENT - DOCTOR'S REQUEST FOR REINSTATEMENT GRANTED BY VOTE OF THE BOARD ON 9/8/99,
SUBJECT TO PROBATIONARY TERMS, CONDITIONS AND LIMITATIONS IMPOSED BY 9/9/98 CONSENT AGREEMENT.
09/09/1998: CONSENT AGREEMENT - PERMANENT REVOCATION OF MEDICAL LICENSE STAYED SUBJECT TO SUSPENSION
FOR AT LEAST ONE YEAR; INTERIM MONITORING CONDITIONS, CONDITIONS FOR REINSTATEMENT, AND SUBSEQUENT
PROBATIONARY TERMS, CONDITIONS AND LIMITATIONS FOR AT LEAST FIVE YEARS ESTABLISHED. BASED ON DOCTOR'S
ADMISSION THAT HE PLEAD GUILTY TO 24 FELONY COUNTS OF THEFT OF DRUGS AND 21 FELONY COUNTS OF ILLEGAL
PROCESSING OF DRUG DOCUMENTS, FOR WHICH HE WAS FOUND ELIGIBLE FOR TREATMENT IN LIEU OF CONVICTION; AND
HIS ADMISSION THAT HIS ABILITY TO PRACTICE IS IMPAIRED BY EXCESSIVE OR HABITUAL USE OF DRUGS OR ALCOHOL.
AGREEMENT EFFECTIVE 9/9/98.
07/08/1998: PRE-HEARING SUSPENSION - PURSUANT TO SECTION 3719.121(C), O.R.C., DOCTOR'S MEDICAL LICENSE
IMMEDIATELY SUSPENDED BASED ON HIS PLEA OF GUILTY TO 24 FELONY COUNTS OF THEFT OF DRUGS AND 21 FELONY
COUNTS OF ILLEGAL PROCESSING OF DRUG DOCUMENTS, FOR WHICH HE WAS FOUND ELIGIBLE FOR TREATMENT IN LIEU
OF CONVICTION. NOTICE MAILED 7/9/98.
07/08/1998: CITATION - BASED ON DOCTOR'S PLEA OF GUILTY TO 24 FELONY COUNTS OF THEFT OF DRUGS AND 21 FELONY
COUNTS OF ILLEGAL PROCESSING OF DRUG DOCUMENTS, FOR WHICH HE WAS FOUND ELIGIBLE FOR TREATMENT IN LIEU
OF CONVICTION. ACTS UNDERLYING DOCTOR'S PLEA INVOLVED HIS THEFT OF CONTROLLED SUBSTANCES, INCLUDING
MEPERIDINE, DARVOCET N-100 AND MORPHINE, FOR HIS PERSONAL USE FROM THE PRESCRIPTION MEDICATION
DISPENSING SYSTEM AT AN IMMEDIATE CARE CENTER. NOTICE OF OPPORTUNITY FOR HEARING MAILED 7/9/98.
Current date & time: 5/29/2019 2:39 PM


Disclaimer: The Joint Commission and NCQA consider on-line status information as fulfilling the primary source verification requirement for
verification of licensure in compliance with their respective credentialing standards.




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